Case 2:17-cv-04983-TJH-KS Document 65 Filed 07/10/19 Page 1 of 5 Page ID #:1311



   1   Roger C. Hsu - SBN 170589
       rchlaw@att.net
   2   Joseph M. Liu - SBN 220938
       joseph@liu.net
   3   LAW OFFICES OF ROGER C. HSU
       175 South Lake Avenue, Suite 210
   4   Pasadena, CA 91101
       Telephone: (626) 792-7936
   5   Facsimile: (626) 685-2859
   6   Attorneys for Plaintiff Interworks Unlimited, Inc.
   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

  10
  11   Interworks Unlimited, Inc., ) Case No. 2:17-cv-4983 TJH KSx)
       a California corporation, )
  12                               )
                Plaintiff,         ) NOTICE OF BANKRUPTCY AND
  13                               ) AUTOMATIC STAY
            v.                     )
  14                               )
       Digital Gadgets, LLC., a    )
  15   New Jersey limited          )
       liability company,          )
  16                               )
                                   )
  17            Defendant.         )
                                   )
  18                               )
       Digital Gadgets, LLC., a    )
  19   New Jersey limited          )
       liability company,          )
  20                               )
                Counterclaimant, )
  21                               )
            v.                     )
  22                               )
       Interworks Unlimited, Inc., )
  23   a California corporation, )
                                   )
  24            Counter-defendant )
                                   )
  25
  26         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  27         PLEASE TAKE NOTICE that Plaintiff/Counter-Defendant
  28   Interworks Unlimited, Inc. filed a Chapter 7 Voluntary

                                            1
                    NOTICE OF BANKRUPTCY AND AUTOMATIC STAY
Case 2:17-cv-04983-TJH-KS Document 65 Filed 07/10/19 Page 2 of 5 Page ID #:1312



   1   Petition on July 9, 2019, docketed as Case No. 2:19-bk-
   2   17990-VZ in the United States Bankruptcy Court for the
   3   Central District of California. Attached as Exhibit “1” is a
   4   copy of the notice for Case No. 2:19-bk-17990-VZ from the
   5   United States Bankruptcy Court regarding the automatic stay.
   6
       DATED: July 10, 2019                     By:    /s/ Joseph M. Liu
   7                                                  Joseph M. Liu, Esq.
                                                      Attorneys for
   8                                                  Plaintiff/Counter
                                                      Defendant Interworks
   9                                                  Unlimited, Inc.
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                    NOTICE OF BANKRUPTCY AND AUTOMATIC STAY
Case 2:17-cv-04983-TJH-KS Document 65 Filed 07/10/19 Page 3 of 5 Page ID #:1313




                            EXHIBIT "1"
7/10/2019 Case                              CM/ECF 65
                   2:17-cv-04983-TJH-KS Document   - U.S. Filed
                                                          Bankruptcy Court (v5.2.1Page
                                                                 07/10/19          - LIVE) 4 of 5 Page ID #:1314

                                        United States Bankruptcy Court
                                         Central District of California

 Notice of Bankruptcy Case Filing

 A bankruptcy case concerning the debtor(s) listed below was filed under
 Chapter 7 of the United States Bankruptcy Code, entered on 07/09/2019 at
 5:08 PM and filed on 07/09/2019.

 Interworks Unlimited Inc.
 2418 Peck Road
 City of Industry, CA 90601
 562-692-8400
 Tax ID / EIN: XX-XXXXXXX

   The case was filed by the debtor's attorney:                    The bankruptcy trustee is:

   Sandford L. Frey                                                Edward M Wolkowitz (TR)
   Leech Tishman Fuscaldo & Lampl, Inc.                            Levene Neale Bender Yoo & Brill LLP
   200 South Los Robles Avenue                                     800 South Figueroa Street, Suite 1260
   Suite 210                                                       Los Angeles, CA 90017
   Pasadena, CA 91101                                              (310) 229-3367
   626-796-4000
The case was assigned case number 2:19-bk-17990-VZ to Judge Vincent P. Zurzolo.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against
the debtor and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at
all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take
other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights
in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at our
Internet home page www.cacb.uscourts.gov or at the Clerk's Office, 255 East Temple Street,, Los Angeles, CA
90012.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting forth
important deadlines.


                                                                                          Kathleen J. Campbell
                                                                                          Clerk, U.S. Bankruptcy Court


                                                            PACER Service Center
                                                                  Transaction Receipt
                                                                   07/10/2019 09:56:40
                                     PACER                                                09997-002-00-
                                                        ltfl0086:2590974:0 Client Code:
                                     Login:                                               DAM
                                     Description:       Notice of Filing    Search        2:19-bk-17990-VZ

https://ecf.cacb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?1869780                                                          1/2
7/10/2019 Case                              CM/ECF 65
                   2:17-cv-04983-TJH-KS Document   - U.S. Filed
                                                          Bankruptcy Court (v5.2.1Page
                                                                 07/10/19          - LIVE) 5 of 5 Page ID #:1315

                                                                  Criteria:
                                     Billable
                                                        1         Cost:       0.10
                                     Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?1869780                                                    2/2
